Case 7:18-cr-00668 Document 1 Filed in TXSD on 03/26/18 Page 1 of 2

AO 91 (Rev. ll/l l) Criminal Complaint

 

 

 

 

United States Qistn$tTGoun
UNITED STATES DISTRICT CoURT S°"“‘°'“ Eii‘_"_°*° ean
for the ¢.
itlAR 2 'i' sili§
Southern District of Texas
United States of America ) David "‘l` Brac"ey’ mark
v. ) __
salvador Leos (Y.o.B. 1979) ) ease No. M »~ 193 - 9 § (/F M
Citizenship; United States )
)
)
)
Defendant(s)
l CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On `or about the date(s) ot` N|arCh 25, 2018 in the county of Hida|gO in the
Southern Distn`ct of Texas , the defendant(s) violated:
Code Section Ojense Description
18 USC 922(9) Felon in Possession 18 USC 922(9)- it shall be unlawful for any person who has been convicted in
of Ammunition any court of a crime punishable by imprisonment for a term exceeding one

year to possess in or affecting commerce any firearm of ammunition; or to
receive any firearm or ammunition which has been shipped or transported in
interstate or foreign commercel

This criminal complaint is based on these facts:

See Attachment "A"

Er Continued on the attached sheet.

¢WM
/<W

Sworn to before me and signed in my presence

Date=M§»'YF¢M //§( §

Judge ’s signature

‘%M

\ Complainant’s signature

 

Jose A. Alvarado, HSl TFO

Prt`nted name and title

 

   

City and State. l\/chllen‘, Texas U.S. l\/lagistrate Judge Peter Ormsby

Printed name and title

Case 7:18-cr-00668 Document 1 Filed in TXSD on 03/26/18 Page 2 of 2

Attachment “A”

On March 26, 20l8, Homeland Security Investigations (HSI), McAllen, Texas, received

information concerning a suspected alien caretaker, SALVADOR LEOS, Who Was in possession
of a firearm.

On March 26, 2018, approximately 5:()0p.m. law enforcement conducting surveillance at the
suspected stash house in McAllen, Texas, observed a White four door sedan exit the stash house.
A traffic stop Was conducted The driver Was identified as LEOS. He gave agents consent to
search the residence in McAllen, Texas. A search of the residence revealed a firearm and multiple
Winchester .410 gauge shot gun shells.

LEOS Was then interviewed at the McAllen Centralized Processing Center, at Which time he Was
read and understood his Miranda Rights and Was Willing to give a statement Without the presence
of an attorney. LEOS stated that approximately two days prior, a friend gave him the firearm.
LEOS stated that he had the ammunition Which Was found on top of the refrigerator LEOS claimed
he kept it there for quicker access if ever needed. `

LEOS has a felony conviction He Was convicted in 20l4 in the Southern District of Texas,
McAllen Division, of Conspiracy to transport aliens in violation of Title 8, United States Code,
g Sections l324(a)(l)(A)(V)(l), 1324(a)(l)(A)(ii) and 1324(a)(1)(B)(i), a crime punishable by a term
exceeding one year.

On March 26, ZOlS, your affiant spoke With a recognized expert in the interstate and foreign
commerce travel of firearms and ammunition. Based on the information provided about the
Winchester .41() gauge shot gun shells ammunition possessed by LEOS, it is believed that the
ammunition Was manufactured outside of the State of Texas and therefore, previously traveled in
interstate or foreign commerce at some time prior to being possessed by any person in the State of
Texas.” `

